4:22-cv-07444-JSW
 1         By signing below, I agree to familiarize myself with, and abide by, the Local

 2   Rules of this Court, especially the Standards of Professional Conduct for attorneys

 3   and the Alternative Dispute Resolution Local Rules. I declare under penalty of

 4   perjury that the forgoing is true and correct.

 5

 6    Dated: November 23, 2022                      Respectfully submitted,

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 8

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10

11

12
                                                    Marshal J. Hoda, Esq.
13                                                  Texas Bar No. 2411009
                                                    12333 Sowden Road, Suite B
14
                                                    Houston, TX 77080
15                                                  0. (832) 848-0036
                                                    marshal@thehodalawfirm.com
16                                                  THE HODA LAW FIRM, PLLC

17   __________________________________________________________________________

18                                  ORDER GRANTING APPLICATION
19                          FOR ADMISSION OF ATTORNEY PRO HAC VICE
20

21           IT IS HEREBY ORDERED THAT the application of Marshal J. Hoda is granted,
22    subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must
23    indicate appearance pro hac vice. Service of papers upon, and communication with, local co-
24    counsel designated in the application will constitute notice to the party.
25    Dated: November 23, 2022
26                                               ____________________________________________
                                                UNITED STATES DISTRICT/MAGISTRATE JUDGE
27

28                                              Page 2 of 2
